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      Information to identify the case:
      Debtor      Tough Mudder Incorporated; Tough Mudder Event Production                EIN        46   –   5652576 & XX-XXXXXXX
                  Incorporated
                  Name


                                                                                          Date case filed in chapter        1/7/2020
      United States Bankruptcy Court       District of Delaware

      Case number:       20-10036 (CSS) & 20-10037 (CSS)                                  Date case converted to chapter N/A




 Official Form 309F (For Corporations or Partnerships)
 Notice of Chapter 11 Bankruptcy Case                                                                                                       12/17

 For the debtor listed above and each of the debtors listed below under “Jointly Administered Cases”, a case has been
 filed under chapter 11 of the Bankruptcy Code. An order for relief has been entered.
 This notice has important information about the case for creditors, debtors, and trustees, including information about the
 meeting of creditors and deadlines. Read both pages carefully.
 The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to
 collect debts from the debtor or the debtor’s property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency,
 repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or
 otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney’s fees.
 Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from
 discharge may be required to file a complaint in the bankruptcy clerk’s office within the deadline specified in this notice. (See line 11 below
 for more information.)
 To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk’s office at the
 address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

 The staff of the bankruptcy clerk’s office cannot give legal advice.

 Do not file this notice with any proof of claim or other filing in the case.

 Valid Picture ID is required for access to the J. Caleb Boggs Federal Building. Additionally, Debtor(s) must also present photo ID plus
 original verification of his/her social security number to the Bankruptcy Trustee. If you do not have a photo ID and/or original
 verification of your social security number, please contact the Office of the United States Trustee’s (302-573-6491).

 1.     Debtor’s full name      Tough Mudder Incorporated; Tough Mudder Event Production Incorporated

 2.     All other names used in the last 8 years        Tough Mudder, LLC


 Jointly Administered Cases                                                         Case No.                             Tax ID.
 N/A
 3.     Address 15 MetroTech Center, Brooklyn, NY 11201

 4.     Debtor’s attorneys
        N/A



 5.     Bankruptcy clerk’s office
                                                                    rd                             Hours open: Monday – Friday
        Documents in this case may be filed      824 Market Street, 3 Floor
        at this address.                         Wilmington, DE 19801                              8:00 AM – 4:00 PM
        You may inspect all records filed in
                                                                                                   Contact phone 302-252-2900
        this case at this office or online at
        www.pacer.gov.




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 6.   Meeting of creditors                      March 2, 2020 at 1:30 p.m. (ET)                            Location:
      The debtor’s representative must                                                                     J. Caleb Boggs Federal Building
      attend the meeting to be questioned       The meeting may be continued or adjourned to a             844 King Street, Room 3209
      under oath.                               later date. If so, the date will be on the court docket.   Wilmington, DE 19801
      Creditors may attend, but are not
      required to do so.

 7.   Proof of claim deadline               Deadline for filing proof of claim: TBD                        For a governmental unit: TBD

                                            A proof of claim is a signed statement describing a creditor’s claim. A proof of claim form may be filed
                                            either electronically or as a paper document. For more information on how to file a Proof of Claim, visit the
                                            Delaware Bankruptcy Court’s website at http://www.deb.uscourts.gov/claims-information.

                                            Your claim will be allowed in the amount scheduled unless:

                                                     your claim is designated as disputed, contingent, or unliquidated;
                                                     you file a proof of claim in a different amount; or
                                                     you receive another notice.
                                            If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you must
                                            file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan. You may
                                            file a proof of claim even if your claim is scheduled.

                                            You may review the schedules at the bankruptcy clerk’s office or online at www.pacer.gov.

                                            Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof
                                            of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                            For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                            including the right to a jury trial.

 8.   Exception to discharge            If § 523(c) applies to your claim and you seek to have it excepted from discharge, you must start a judicial
      Deadline                          proceeding by filing a complaint by the deadline stated below.
      The bankruptcy clerk’s office
      must receive a complaint and          Deadline for filing the complaint:             May 1, 2020
      any required filing fee by the
      following deadline.


 9.   Creditors with a foreign              If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
      address                               extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                            any questions about your rights in this case.

10.   Filing a Chapter 11                   Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the court
      bankruptcy case                       confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan, and you
                                            may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation hearing,
                                            and you may object to confirmation of the plan and attend the confirmation hearing. Unless a trustee is
                                            serving, the debtor will remain in possession of the property and may continue to operate its business.

11.   Discharge of debts                    Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your debt.
                                            See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the debtor
                                            except as provided in the plan. If you want to have a particular debt owed to you excepted from the discharge
                                            and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and paying the filing
                                            fee in the bankruptcy clerk’s office by the deadline.




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